Case 0:21-cr-60167-WPD Document 1 Entered on FLSD Docket 06/10/2021 Page 1 of 5




                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRIW OF FLQRIDA

                                cAsENo.ii
                                       21-60167-C R-D lM ITRO U LEA S/SN O W
                                            u-s-c.j841(a)(1)

     UNITED STATES OFAMERICA
                                                                      FILED BY                  D.C,
     VS.
                                                                            JtJS 12 2021
     JARU BRIU STEIN,                                                        ANGELA E.NOBLE
                                                                            CLERKU S,DIST CT.
            Defendant.                                                    s.o.oFFI
                                                                                 .
                                                                                 >.-FT.I
                                                                                       LAUD.




            The United StatesAttorneychargesthat:
                                            COUNT 1

            On oraboutJanuary 14,2021,in Broward County,in the Southern DistrictofFlorida,

     and elsewhere,the defendant,

                                      JARU BRIU STEIN,

     did knowinglyand intentionally possess wi
                                             th intentto dlstribute a controlled substance,in

     violation ofTi
                  tl
                   e 21,United StatesCnde,Section 841(a)(1)and Ti
                                                                tle 18,United StatesCode,
     Section 2.

            PursuanttoTitle 21,UnitedStatesCode,Section 841(b)(1)(A)(viii),i
                                                                           tisfurtheralleged
     thatthis violation involved fifty (50)grams ormore ofmethamphetamine,itssalts,isomers
     and salts ofits isomers.



           On oraboutJanuary 28,2021,in Broward County,in the Southern DistrictofFlorida,

     the defendant,

                                       JARU BRIU STEIN,
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   did knowingly and intentionally possess with intentto distribute a controlled substance,in

   violationofTitle 21,United States Code,Section 841(a)(1)andTitle 18,United StatesCode,
   Section 2.

          PursuanttoTitle 21,Uni
                               tedStatesCode,Section841(b)(1)(A)(viii),itisfurtheralleged
   thatthis violation involved fifty (50)grams orm ore ofmethamphetamine,i
                                                                         ts salts,isomers
   and salts of its isom ers.

                                                     e- 'e                      ,


                                                    JUAN ANTO 0 GONZALEZ
                                                    ACTING UNI
                                                             TED STATES ATTORNEY
                                                Y    .



                                                     ONALD F.CHASE,11
                                                    ASSISTANT UNI
                                                                TED STATES ATTO RNEY
   Case 0:21-cr-60167-WPD Document 1 Entered on FLSD Docket 06/10/2021 Page 3 of 5
                             UNITEDSTATESDISTRICT Co URT
                             SOUTHERNDISTRICT OF FLORIDA

   UNITED STATESO F AM ERICA                          CASE NO .
    V.
    JARED BRIETSTEIN,                                 CERTIFICATE O F TRIAL ATTOR NEY.
                                                      Superseding CaseInformation:
                 Defendant.                  /
     CourtDivision:(SelectOne)                       Newdefendantts) U-IYes I--INo
    r-lMiami U1KeyWest 1-
                        7-1FTL                       Numberofnewdefendants
    I
    --IWPB U-IFTP                                    Totalnumberofcotmts
         l. lhavecarefully consideredtheallegationsoftheindictm ent,thenum berofdefendants,thenumberofproh ble
           w itnessesand thelegalcomplexitiesofthelndictm ent/lnformation attachedhereto.
         2.1am awarethattheinformation suppliedon thisstatementwillberelied uponbytheJudgesofthisCourtin
           Setting theircalendarsand scheduling crim inaltrialsunderthemandateoftheSpeedy TrialAct,
            Title28 U .S.C.Section 3161.
         3.lnterpreter:(YesorNo) No
           Listlanguageand/ordialect English
         4.Thiscase willtake 4 daysforthepartiestotry.
         5.Pleasecheck appropriatecategory andtypeofoffenselistedbelow :
               (Checkonlyone)                           (Checkonlyone)
          I 0to5days              (Z                   Petty             (7I
          11 6to10days            (7I                  Minor             EEI
          lll 1lto20days          (71                  Misdemeanor       EEI
          IV 21to60days           (7                   Felony            Ezql
          V 61daysandover         E7l
         6.HasthiscasepreviouslybeenfiledinthisDistrictCourt? (YesorNo) No
            Ifyes:Judge                              CaseNo.
            (Attachcopyofdispositiveorder)
            Hasacomplaintbeenfiledinthismatter? (YesorNo)No
            lfyes:M agistrateCase No.
            Relatedm iscellaneousnum bers:
            Defendantts)infederalcustodyasof
            Defendantts)instatecustodyasof
            Rule20 from theDistrictof
            lsthisapotentialdeathpenaltycase?(YesorNo) No
         7. Doesthiscase originatefrom amatterpendingintheCentralRegionofthe U.S.Attorney'sOffice priorto
           August9,2013(Mag.JudgeAlicia0.Valle)?(YesorNo) No
         8. Doesthiscase originatefrom am atterpending in theNorthernRegion oftheU .S.Attorney'sOffice priorto
            August8,2014(Mag.JudgeShaniekMaynard?(YesorNo) No
         9. Doesthiscase originatefrom amatterpending intheCentralRegionoftheU.S.Attorney'
                                                                                         sOfficepriorto
           October3,2019(M ag.JudgeJared Strauss)?(YesorNo) No
                                                                       s.,
                                                                         m.'-
                                                                  wA




                                                                          O NALD F.C HA S ,
                                                                    pecialAssistantUnited States Attorney
                                                                   CourtID No.     A5500077
*penaltySheetts)attachd                                                                              REV 3/19/2l
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                              UN ITED STATES D ISTR ICT CO UR T
                              SO UTH ERN DISTRICT O F FLOR ID A

                                         PENALTY SH EET

   Defendant'sN am e: JARET BR IETSTEIN

   CaseN o:

   Counts 1and 2

   Possession with lntentto D istribute M etham phetam ine

   21U.S.C.âl 841(a)(1)and 841(b)(l)(A)(viii)
   *M ax.Penalty:        LifeImprisonment(10yearsmandatoryminimum);atleast5yearsof
   supervisedreleaseup to life;$10,000,000 fine;and $100 specialassessment.




   WRefersonly to possibleterm ofincarceration,doesnotinclude possible fines,restitution,
           specialassessm ents,paroleterm s,or forfeituresthatm ay be applicable.
Case 0:21-cr-60167-WPD Document 1 Entered on FLSD Docket 06/10/2021 Page 5 of 5




 AO 455(Rev,01/09)Waiverofanlndictment

                                 U NITED STATES D ISTRICT COURT
                                                     forthe
                                           Southern DistrictofFlorida

                United StatesofAmerica
                            V.                               CaseNo.
                  JARET BRIETSTEIN                           2l-60l67-C R-D 1M 1TRO U LEA S/SN O W
                         Defendant
                                         W ATVER 0F AN INDICTM ENT

       1understand thatIhavebeen accused ofoneormoreoffensespunishableby imprisonmentformorethanone
 year.lwasadvised inopen courtofmy rightsand thenatureoftheproposed chargesagainstme.

        Afterreceivingthisadvice,Iwaivemy rightto prosecution by indictmentand consentto prosecution by
 information.



 Date:
                                                                              Defendant'
                                                                                       sJl
                                                                                         '
                                                                                         gnt
                                                                                           ztlfre



                                                                         Signatureofdefendant'
                                                                                             sattorney


                                                                        Printednameofdefendant'
                                                                                              sattorney
